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 6   Attorney for Defendant
     JOSEPH SILVA
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      )       No. 09-CR-00096-JAM
                                                    )
12                                                  )       STIPULATION AND
            Plaintiff,                              )       ORDER CONTINUING RELEASE
13                                                  )       VIOLATION HEARING
     v.                                             )
14                                                  )
     JOSEPH SILVA.                                  )       Date: September 1, 2015
15                                                  )       Time: 11:00 am.
                                                    )       Judge: Honorable John A. Mendez
16
            Defendant.                              )
                                                    )
17                                                  )
                                                    )
18

19          IT IS HEREBY stipulated between the United States of America through its undersigned

20   counsel, Josh Sigal, Assistant United States Attorney, attorney for plaintiff, together with Kyle

21   Knapp, attorney for defendant, Joseph Silva, that the previously-scheduled violation hearing,

22   currently set for August 11, 2015, be vacated and that the matter be set for hearing on

23   September 1, 2015 at 11:00 a.m.

24          This continuance is requested to allow defense counsel additional time to locate and

25   serve several witnesses and finish investigating some issues that may constitute defenses to

26   some of the allegations in the petition.

27   IT IS SO STIPULATED.

28   Dated: August 7, 2015


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                                                                BENJAMIN B. WAGNER
 1
                                                                UNITED STATES ATTORNEY
 2
                                                         by:    /s/ Kyle Knapp for
 3                                                              JOSH SIGAL
                                                                Assistant U.S. Attorney
 4
                                                                Attorney for Plaintiff
 5
     Dated: August 7, 2015                                      /s/ Kyle Knapp
 6                                                              KYLE KNAPP
 7
                                                                Attorney for Defendant
                                                                JOSEPH SILVA
 8
                                                ORDER
 9
            The Stipulation of the parties is hereby accepted and the requested continuance is
10
     GRANTED. This matter shall be dropped from this court’s August 11, 2015 criminal calendar
11
     at 11:00am and re-calendared for violation hearing on September 1, 2015 at 11:00am.
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13
            IT IS SO ORDERED.
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15
     Dated: 8/7/2015                                     /s/ John A. Mendez____________
                                                         HON. John A. Mendez
16                                                       United States District Court Judge
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